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                                                       EISENBERG & SCHNELL rrp
                                                                                          ATTORNEYS AT LAW


                                                                                               HERBERT EISENBERG
                                                                                                 LAURA S. SCHNELL

By ECF                                                                                        JULIAN R. BIRNBAUM
                                                          February 6,2020                               Of Counsel
Honorable Jesse M. Furman
United States District Judge
Southern,District of New York
New York, New York

        Re                                 Medi

Dear Judge Furman:

        We represent plaintiff Mohammed Sadat, M.D. and write regarding discovery disputes
that we have been unable to resolve. Plaintiff previously brought this matter to the Court's
attention in ECF No. 48 and defendants responded in ECF No. 49.r

       Defendants' objections to comparator discovery. Defendants have yet to provide
information and personnel files for medical residents in their Anesthesia Residency Training
Program and their other residency training programs with respect to leaves of absence,
accommodations, post-leave reinstatement requirements, advancement (without reapplication
through the "national residency match" which was required of plaintiffl, and separation. Despite
the Court's Confidentiality Order that prohibits disclosure of this "Highly Conf,rdential"
information to even plaintiff, defendants have now offered (but have yet) to provide discovery
for medical residents who had taken onlyFMLA-related leaves, i.e., FMLA, medical, disability,
maternity, and paternity leaves, but not leaves of absence related to military service or for


t        Plaintiff s counsel spoke with defendants' counsel Johane Severin, Esq., by phone on December
26,2019 and January 10, 13, and 14,2020 regarding Defendants' Objections to Plaintiff s First Request
for the Production of Documents (attached as Exhibit A to ECF No. 48) and Objections and Responses to
Plaintiff s First Set of Interuogatories (Exhibit B to ECF No. 48) that defendants served December 19,
2019. Plaintiff provided supporting authority on December 30,2019. After the Court entered the
proposed Confidentiality Stipulation and Protective Order ("Confidentiality Order") but declined to reach
the comparator evidence dispute (ECF Nos. 52,53), the parties conferred by conespondence on January
29,30 and by phone on February 3 and 5, 2020 (see Exhibit A attached hereto) but were unable to agree
upon the issues herein.

        To compare plaintiff s treatment with others, he requested comparator information detailed in
ECF No. 48 n.2. Part of the comparator request asked for files and information about comparator
applicants when plaintiff was required to apply for readmission through the "match" to the Anesthesia
Residency Program. Defendants respond that they retain only the files of applicants who were accepted
and enrolled, which they will (but have yet to) produce, but do not retain or have access to information of
others. They have also said they do not have any documentation of their selection criteria, evaluation and
rank order of candidates, or other similar information.
                                                                                         THE WOOLWORTH BUILDING
                                                                                         233 BROADWAY, SUITE 2704
                                                                                         NEW YORK, NEW YORK 10279

                                                                                                PHONE 2r 2.966.8900
                                                                                                FAX     212.9 66.2505
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 immigration or visa related issues.2 In essence conceding its probative value, defendants have
 alternatively offered to provide information for comparators with all types of leaves but only for
 Anesthesia and. a handful of other programs of their own selection. Defendants' attempt to draw
 any distinction between these leaves of absences is not persuasive.

         Defendants distinguish military leaves, arguing they are legally required and protected so
that a resident called to active duty whose renewable one-year term appointment (as all trainees
including plaintiff have) expires during the leave period must still be reinstatqd to their position
at the end of the leave even though their appointment has ended. That circumstance is not
different from plaintifls pre-approved medical disability leave since both leaves of absence
result in the resident missing continuous clinical training and could occur during the time the
respective annual appointment ends. The effect is the same, with the resident having to make up
missed training upon return. The applicable federal and state disabilities laws require reasonable
accommodation, including leave and an interactive process under the Americans With
Disabilities Act ("ADA") (which defendants here failed to perform), and prohibit the employer-
educational institution from retaliating against the resident for taking leave. 42U.5.C. $$ 121 12,
12732,I2203(a). Additionally, military leave does not provide an absolute right to return. See
Regulations Under the Uniformed Services Employment and Reemployment Rights Act of 1994
("USERRA"), 38 U.S.C. $4331(a), e.g.,20 C.F.R. $1002.115 (requirement to timely report or
submit application for reemployment); $1002.117(b) (employee who fails to timely report or
reapply becomes subject to general practices of employer pertaining to absence); $1002.139(a)
(employer excused from reemployment obligation if unreasonable or reduction in force);
 $1002.139(b) (excused where undue hardship for employer); and $1002.139(c) (excused where
prior position was for brief, nonrecurrent period and no reasonable expectation employment
would continue indefinitely or for a significant period). Defendants' position (with which
plaintiff disagrees) that a resident is appointed for an annual term appointment only without a
reasonable expectation of continued employment beyond the year, could implicate 20 C.F.R.
$ 1002.139(c), making a resident's reemployment situation under USERRA similar to that under
the ADA, so that plaintiff is substantially similar to those comparators.

       Defendants also contend that FMlA-related leaves are more readily identifiable since the
HR office records, lists, and reports them, but does not do so for the visa and military leaves,
which can only be identified by the Graduate Medical Education Office examining the files of all
approximately 600 residents during the parties' agreed relevant time period. Even if HR may not
make particular reports of such leaves, there are records of them since they have periods of non-
employment that must be reflected in payroll information. As defendants have alternatively
proposed providing information on all leaves for a small number of programs, they could also


2        Defendants have not provided the actual information and documents yet, but have only provided
partial numbers of residents with such leaves. According to what defendants have told us so far, there
were approximately twelve residents in all specialty programs including five in Anesthesia, who took
FMlA-related leaves in2016-18. This information comes from the central HR office that administers
leaves for residents who are both SI-INY Upstate employees as well as trainees in their residency
programs. The numbers of comparator medical residents is wholly manageable and the information as to
them wholly proportionate for discovery purposes given the significance of comparator information.



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inquire of departmental residency program directors who would know if any of their residents
had taken any buch leaves in the relevant period. Alternatively, the Graduate Medical Education
Office could make the files available for plaintiff counsel's inspection, and counsel could review
and identify what we believe are the relatively small number of applicable residents. We have
agreed to go to Syracuse for this purpose as we have also agreed to go there to take several
depositions

         With respect to information about comparators who had not taken any.leave of absence,
defendants have also refused to produce requested information for residents in the Anesthesia
and other medical specialty programs about advancement, completion of requirements, response
to communications, discipline, reapplication for successive years, and separation or termination
from residency (ECF No. 48, n.2). This information is necessary to compare the treatment of
plaintiff who was terminated and was required to reapply for what would have been his third and
final year of training despite his successful performance during his first two years of Anesthesia
residency training, and his prior two years of successful Surgery training at SUNY Upstate.

        Defendants' failure to produce other documents. In addition, defendants have failed to
produce documents they agreed to produce subject to entry of the Confidentiality Order, which
the Court entered on January 22,2020. These include the files of applicants who were accepted
into the first year of the Anesthesia program when plaintiff was required to reapply in the same
match pool for his third year. These documents were first requested November 19, and the
parties are scheduling depositions in mid-March. These documents are long overdue, necessary
for our preparation, and there is no legitimate reason to withhold them.

        To the extent that intervention by the Court is necessary for STINY Upstate to take its
obligations seriously and to provide what it has agreed and what ought be required, plaintiff
respectfully asks for a conference as soon as possible to resolve the above issues.


                                                     Respectfully



                                                     Herbert Eisenberg
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Encls

cc:   Johane Severin, Esq. (by ECF)




                                                                  EISENBERG a SCHNELL np
